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                                                             April 14, 2023
The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                     Re: United States v. Christopher Gunn, 22-CR-314
Dear Judge Gonzalez:
      In light of the government’s letter of April 3, I am respectfully writing to
request that the court remove the home confinement condition from Mr. Gunn’s
bond and allow Mr. Gunn to move in and out of his home without restriction.
      The government and pretrial consent to this request.
                                                     Respectfully Submitted,
                                                             /s/
                                                     Allegra Glashausser
                                                     Assistant Federal Defenders




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